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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE: ALEXANDER E. JONES                         §
                                                  §   CASE NO. 22-33553 (CML)
                                                  §
                  Debtor.                         §   Chapter 7


 ALEXANDER E. JONES EXPEDITED SUPPLEMENTAL REQUEST AND MOTION
         FOR CONTINUANCE OF THE HEARING NOW SET FOR
          JANUARY 23, 2025 AT 9:00 AM IN HOUSTON, TEXAS

       This motion seeks an order that may adversely affect you. If you oppose the
       motion, you should immediately contact the moving party to resolve the
       dispute. If you and the moving party cannot agree, you must file a response
       and send a copy to the moving party. You must file and serve your response
       within 21 days of the date this was served on you. Your response must state
       why the motion should not be granted. If you do not file a timely response, the
       relief may be granted without further notice to you. If you oppose the motion
       and have not reached an agreement, you must attend the hearing.

       Unless the parties agree otherwise, the court may consider evidence at the
       hearing and may decide the motion at the hearing. Represented parties should
       act through their attorney.

       Expedited relief has been requested. If the Court considers the motion on an
       expedited basis, then you will have less than 21 days to answer. If you object
       to the requested relief or if you believe that expedited consideration is not
       warranted, you should file an immediate response.


TO THE HONORABLE CHRISTOPHER LOPEZ, UNITED STATES BANKRUPTCY
JUDGE

       Alex Jones, joined by Free Speech Systems, LLC, filed this First Motion for Continuance

and for Expedited Discovery [Dkt #1022], seeking a continuance of the Settlement Motion hearing

now scheduled for January 23, 2025 in Houston, Texas, and would show the Court the following:

            I.      SUPPLEMENTAL BASIS SUPPORTING A CONTINUANCE

       1.        On January 21, 2025, Jones filed his first Motion for Continuance [Dkt #1022] (the

“Motion”) of the hearing set in Houston, Texas at 9:00 AM, January 23, 2025. That Motion is

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incorporated herein by reference as if set out herein verbatim. Jones supplements the Motion for

Continuance as set out herein below, and seeks an expedited consideration of the Motion and this

Supplement to the Motion, as follows:

       2.     This Settlement Motion has potential case-dispositive consequences potentially

impacting far more than disclosed in the Settlement Motion, evidenced by the Trustee’s Exhibit

list of more than 5,400 pages of documents and the Trustee’s production of documents to Jones of

more than 1,300 pages of emails and other communications. See, Jones Response [Dkt. #1023]

(the “Response”). Jones seeks a continuance of the January hearing now set for 9:00 AM January

23, 2025 in Houston, Texas, for the following additional reasons:

              a.                Jones counsel desires to attend in person and be able to present its position

       and examine and cross-examine witnesses in person but are prevented from doing so

       because of the dangerous weather and driving conditions throughout Texas and in

       particular in the Austin to Houston area.




               Watch:       Snow        blankets      Galveston        beach       during       snowstorm
               Video     from      Galveston.com       webcam       shows    a once-in-two-decades            occurrence;     snow       on the   beach!
               The     last time    significant    snow     hit Galveston    was     in 2004.



               GALVESTON,                   Texas     - Photos         and     videos        from     beaches         along       the    Gulf     Coast
               showed           a rare       and     stunning       sight      Tuesday:          snow.


               In Galveston,              video      from     Galveston.com                 showed       snow        blanketing          the    beach,
               concealing             the     sand     underneath.           Waves          crashed         in the   distance,          with    dark,
               gloomy           skies       behind     them.


               States       from        Texas      to the     Carolinas        are experiencing                a once-in-a-generation
               snowstorm              this week.          It has already           resulted        in a Blizzard        Warning           being     issuec
               in Louisiana             for the      first time     ever.



https://www.foxweather.com/extreme-weather/snow-on-beach-texas-mississippi-snowstorm-
gulf-coast


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In order to attend the scheduled hearing, Jones counsel must travel today from Austin to

Houston, Texas so as to be assured timely attendance at the scheduled time tomorrow.

Weather travel advisories reflect multiple highway and road closings due to icing and other

dangerous conditions. Additionally, Jones counsel intended to call witness and cross

examine witnesses in person, which is not only far more difficult and less effective if the

hearing is conducted remotely and, if the witnesses cannot appear in person because of the

weather, will prevent such in person examination.

       b.      The Trustee’s Motion to Settle set for hearing is to be supported by more

than 5,400 pages of Exhibits produced 36 hours before Thursday’s hearing. Jones’ legal

counsel are simply unable to adequately review and prepare for a hearing involving this

large number of documents. Additionally, Jones counsel cannot adequately review the

documents prior to the deposition of the Trustee, or the scheduled hearing.

       c.      Additionally, the Trustee agreed to attend an expedited discovery deposition

set for January 22, 2025, at 10:30 AM in Houston, Texas, which counsel for Debtors have

had to re-schedule as a remote deposition because of dangerous weather driving conditions

throughout Texas and in particular in the Austin to Houston area. In response to the

document production request the Trustee has produced late last evening an additional

approximately 1,300 pages of document that likewise cannot be adequately reviewed prior

to the scheduled deposition of the Trustee or the scheduled hearing on January 23, 2025.

       d.      There is no recited “emergency” compelling an expedited, remote only,

hearing that is now scheduled and the Trustee’s pleadings certainly do not establish any

emergency:

       34. The Trustee requests expedited consideration of this Motion. As set
       forth herein, the Trustee seeks to resolve the allowed amounts of the
       Families’ claims against Jones and FSS, the resolution of which is critical

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                to the administration of the Estate. Any delay in approving the Settlement
                will cause uncertainty as to the resolution of the Families’ claims and their
                involvement in this case and impact the Trustee’s ability to liquidate the
                Debtor’s assets. As such, the Trustee believes that expedited consideration
                of the Motion is warranted. See, Case 22-33553 Document 1011 Filed in
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         This basis of an emergency, that the Trustee will be delayed in liquidating the assets of the

         Estate does not address and emergency, nor does it relate to liquidation of assets. The

         Trustee should, but is not, moving forward to deal with the existing $8 million offer made

         by FAUC on December 19, 2024 which is not part of the Motion, nor does the Motion

         speak to the reason that for over a month the Trustee has delayed any response to the merits

         of the offer, nor sought a hearing on handling of the offer. Certainly, the Trustee’s one-

         month delay is more significant than the claim of an emergency to prevent this same delay.

         3.     The Motion for Continuance and the Response filed by Jones to the Settlement

Motion both request to include in any hearing on the Settlement Motion, the Motion for

Reconsideration [Dkt # 127 filed in Adv #23-03037] filed by Jones on January 14, 2025.

         4.     Jones seeks a continuance of 10 days or more to deal with the need for discovery

and review of the documents produced by the Trustee. No other party in interest has produced

documents or listed any witness to be called other than those listed and called by the Trustee or

Jones.

                    COUNSEL CONFERENCE AND OPPOSED MOTION

         5.     Jones counsel conferred with counsel for the Trustee and as a result this Motion is

Opposed.

                       REQUEST FOR EXPEDITED CONSIDERATION

         6.     Alexander Jones, joined by Free Speech Systems, LLC requests expedited

consideration of this Supplement to the Continuance Motion. Weather conditions prevent Jones



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counsel from attending the hearing in person. The expedited basis is not for delay but to allow the

Debtor the opportunity to prepare for such a hearing and attend in person, as stated above. As such,

Alexander Jones believes that expedited consideration of the Motion is warranted.

       WHEREFORE, Jones prays this Court grant the relief above requested, and for such other

and further relief to which Jones is justly entitled, at law and in equity.

Dated: January 22, 2025
                                                /s/ Shelby A. Jordan
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                                               S.D. No. 2195
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                              CERTIFICATE OF ACCURACY

The undersigned hereby certifies that, to the best of my knowledge, the statements regarding the
reasons expedited relief has been requested are the true and accurate reasons expedited relief was
requested. This statement is being made pursuant to Bankruptcy Local Rule 9013-1(i).

                                             /s/ Shelby A. Jordan
                                             Shelby A. Jordan

                                CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing pleading was served upon all parties
registered to receive notices via the Court’s ECF noticing system on January 22, 2025 as well as
the following parties.

                                             /s/ Shelby A. Jordan
                                             Shelby A. Jordan




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